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                                   8                                UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                         JEREMY ADAMS,
                                  11                                                     Case No. 22-cv-02963 EJD (PR)
                                                       Plaintiff,
                                  12                                                     ORDER STAYING PROCEEDINGS
Northern District of California




                                                  v.                                     AND ADMINISTRATIVELY
 United States District Court




                                  13                                                     CLOSING CASE; DENYING
                                                                                         MOTION TO PROCEED WITH
                                  14     JOHN NUNEMAKER, et al.,                         PSEUDONYM
                                  15                   Defendants.
                                  16                                                     (Docket No. 3)
                                  17

                                  18           Plaintiff, who is currently being detained at the Corrections Center of Northwest
                                  19   Ohio, filed the instant pro se civil rights action seeking damages for several allegedly
                                  20   unconstitutional acts that occurred in various locations. Dkt. No. 1. Plaintiff filed this
                                  21   action in the Eastern District of California, which transferred the case to this district. Dkt.
                                  22   No. 5. On July 28, 2022, Plaintiff filed an amended complaint which is the operative
                                  23   complaint in this matter. Dkt. No. 10; Fed. R. Civ. P. 15(a)(1). On August 1, 2022, this
                                  24   matter was reassigned to the Undersigned. Dkt. Nos. 11, 12. Plaintiff’s motion for leave
                                  25   to proceed in forma pauperis will be addressed in a separate order. Dkt. No. 9.
                                  26           Plaintiff has filed a motion to proceed under a pseudonym. Dkt. No. 3.
                                  27   ///
                                  28   ///
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                                   1                                          BACKGROUND
                                   2            Plaintiff filed this action against the Brentwood Police Department (“BPD”) in
                                   3   California, several officers of BPD, several agents of Homeland Security Investigations
                                   4   (“HSI”) located in California and Ohio, and several private individuals and entities within
                                   5   the news industry at various locations. Dkt. No. 10 at 2-8. Plaintiff alleges claims under
                                   6   42 U.S.C. § 1983 against state actors, a Monell1 claim against BPD, claims under Bivens
                                   7   v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971) against federal actors, and
                                   8   various state tort claims against both state and federal actors and the private individuals
                                   9   and entities. Dkt. No. 10.
                                  10            The claims are based on the following: (1) an unlawful search of Plaintiff’s
                                  11   residence in Lodi, California, on July 29, 2020, and his subsequent unlawful detention; (2)
                                  12   warrantless seizure of items during that search; (3) the issuance of a Ramey warrant which
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                                  13   lacked probable cause on July 21, 2020; (4) “out-of-scope warrantless search” of the
                                  14   illegally obtained items; (5) the filing of a criminal complaint charging Plaintiff with
                                  15   exploitation of a minor in the Northern District of Ohio on November 6, 2020; (6)
                                  16   Plaintiff’s “false arrest” on May 18, 2021; and (7) his continued “false imprisonment”
                                  17   since the arrest. Dkt. No. 10. Plaintiff’s claims include multiple violations of the Fourth
                                  18   and Fourteenth Amendments, violations of state laws, and state torts, i.e., intentional and
                                  19   negligent infliction of emotional distress and defamation. Id.
                                  20            Based on Plaintiff’s allegations, the Court did a search of pending federal criminal
                                  21   matters in the Northern District of Ohio and found the following criminal action: United
                                  22   States of America v. Adams, Case No. 21-cv-00504-JJH-1. The Court may take judicial
                                  23   notice of this judicial proceeding.2 The defendant is Jeremy David Adams, Booking No.
                                  24
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                                           Monell v. Dep't of Social Servs., 436 U.S. 658 (1978).
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                                         A district court “may take notice of proceedings in other courts, both within and without
                                  26   the federal judicial system, if those proceedings have a direct relation to matters at issue.”
                                       Bias v. Moynihan, 508 F.3d 1212, 1225 (9th Cir. 2007) (internal quotation marks and
                                  27   citations omitted) (granting request to take judicial notice in § 1983 action of five prior
                                       cases in which plaintiff was pro se litigant, to counter her argument that she deserved
                                  28   special treatment because of her pro se status).
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                                   1   202102119, who is currently confined at the Corrections Center of Northwest Ohio; this
                                   2   information matches the information provided by Plaintiff in his complaint.3 The docket
                                   3   shows that a criminal complaint was filed on November 6, 2020, alleging that the named
                                   4   defendant violated 18 U.S.C. § 2251(a) (sexual exploitation of minor (production of child
                                   5   pornography)). Id., Dkt. No. 1. The docket also indicates that defendant was arrested on
                                   6   May 18, 2021. Lastly, Plaintiff’s amended complaint lists 67 articles published by various
                                   7   media sources regarding the investigation leading to his arrest, which leaves little doubt
                                   8   that he is the defendant in that federal criminal action. Dkt. No. 10 at 27-32. Accordingly,
                                   9   Plaintiff is clearly a defendant in a pending federal prosecution.
                                  10

                                  11                                           DISCUSSION
                                  12   A.       Standard of Review
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                                  13            A federal court must engage in a preliminary screening of any case in which a
                                  14   prisoner seeks redress from a governmental entity or officer or employee of a
                                  15   governmental entity. See 28 U.S.C. § 1915A(a). In its review the court must identify any
                                  16   cognizable claims, and dismiss any claims which are frivolous, malicious, fail to state a
                                  17   claim upon which relief may be granted, or seek monetary relief from a defendant who is
                                  18   immune from such relief. See id. at § 1915A(b). Pro se pleadings must be liberally
                                  19   construed. See Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1990).
                                  20            To state a claim under 42 U.S.C. § 1983, a plaintiff must allege two elements: (1)
                                  21   that a right secured by the Constitution or laws of the United States was violated and (2)
                                  22   that the violation was committed by a person acting under the color of state law. See West
                                  23   v. Atkins, 487 U.S. 42, 48 (1988).
                                  24            Except for the replacement of a state actor by a federal actor, actions under 42
                                  25   U.S.C. § 1983 and Bivens are identical. See Martin v. Sias, 88 F.3d 774, 775 (9th Cir.
                                  26

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                                           https://www.ccnoregionaljail.org/offender_search.htm
                                  28

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                                   1   1996); Van Strum, 940 F.2d at 409; see also Wilson v. Layne, 526 U. S. 603, 609 (1999)
                                   2   (qualified immunity analysis same under Bivens and § 1983). Accordingly, when
                                   3   reviewing a Bivens action for which there is no case on point, § 1983 cases may be applied
                                   4   by analogy. See, e.g., Tekle v. United States, 511 F.3d 839, 844 (9th Cir. 2007) (applying
                                   5   § 1983 cases to analysis of Bivens claim that officers used excessive force under Fourth
                                   6   Amendment, and of qualified immunity defense to same claim). But note that the Supreme
                                   7   Court has restricted the constitutional violations for which a Bivens claim may be asserted
                                   8   at all in Ziglar v. Abbasi, 137 S. Ct. 1843, 1857 (2017).4
                                   9   ///
                                  10   B.      Analysis
                                  11           As part of his action, Plaintiff is attempting to challenge a search warrant and
                                  12   seizure of evidence which is being used in the pending criminal prosecution against him in
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                                  13   the Northern District of Ohio. Plaintiff is also challenging his detention incident to the
                                  14   search warrant and the later arrest, which he alleges is a “false arrest.” See supra at 2.
                                  15   Liberally construed, it appears that he states cognizable claims under § 1983 for the
                                  16   violation of his rights under the Fourth and Fourteenth Amendments, and a potential
                                  17   Bivens claim for the violation of his Fourth Amendment rights.
                                  18           If a plaintiff files a § 1983 false arrest claim before he or she is convicted, or files
                                  19   any other claim related to rulings that likely will be made in a pending or anticipated
                                  20

                                  21   4
                                         With regards to Bivens claims, the Supreme Court has held on three occasions that, even
                                       absent statutory authority, a private right of action for damages may be implied from the
                                  22   Constitution itself for constitutional violations by federal employees or their agents. See
                                       Bivens, 403 U.S. at 392-97 (4th Amendment unreasonable search and seizure); Davis v.
                                  23   Passman, 442 U.S. 228, 248-49 (1979) (5th Amendment Due Process Clause gender
                                       discrimination); Carlson v. Green, 446 U.S. 14, 17-19 (1980) (8th Amendment inadequate
                                  24   medical treatment). But “[t]hese three cases -- Bivens, Davis, and Carlson – represent the
                                       only instances in which the [Supreme] Court has approved of an implied damages remedy
                                  25   under the Constitution itself.” Ziglar v. Abbasi, 137 S. Ct. 1843, 1855 (2017). The Court
                                       has made clear that “expanding the Bivens remedy is now a ‘disfavored’ judicial activity,”
                                  26   id. at 1857 (citation omitted), and will not be available if there are “‘special factors’
                                       counseling hesitation in the absence of affirmative action by Congress,” id. at 1848
                                  27   (citation omitted). The Court has emphasized that “for almost 40 years, we have
                                       consistently rebuffed requests to add to the claims allowed under Bivens.” Hernandez v.
                                  28   Mesa, 140 S. Ct. 735, 743 (2020).
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                                   1   criminal trial, it is within the power of the district court, and accords with common
                                   2   practice, to stay the civil action until the criminal case or the likelihood of a criminal case
                                   3   is ended. Wallace v. Kato, 549 U.S. 384, 393-94 (2007). If the plaintiff is then convicted,
                                   4   and if the stayed civil suit would impugn that conviction, Heck v. Humphrey, 512 U.S. 477
                                   5   (1994), requires dismissal; otherwise, the case may proceed. Id. at 394.
                                   6          The Supreme Court held in Heck, 512 U.S. 477, that a plaintiff cannot bring a civil
                                   7   rights action for damages for a wrongful conviction unless that conviction already has been
                                   8   determined to be wrongful. See id. at 486-87. The Heck rule was later held to cover
                                   9   equitable relief also; that is, if success in the § 1983 action would necessarily demonstrate
                                  10   the invalidity of the confinement or its duration, the § 1983 action is barred regardless
                                  11   whether the relief sought is damages or equitable relief. See Wilkinson v. Dotson, 544
                                  12   U.S. 74, 81 (2005); cf. Skinner v. Switzer, 561 U.S. 521, 523 (2011) (claim seeking DNA
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                                  13   evidence does not necessarily imply invalidity of conviction because such evidence may
                                  14   prove incriminatory or inconclusive; Heck does not bar bringing such a claim under §
                                  15   1983). A conviction may be determined to be wrongful by, for example, being reversed on
                                  16   appeal or being set aside when a state or federal court issues a writ of habeas corpus. See
                                  17   Heck, 512 U.S. at 584-87. The Heck rule also prevents a person from bringing an action
                                  18   that -- even if it does not directly challenge the conviction -- would imply that the
                                  19   conviction was invalid. The practical importance of this rule is that a plaintiff cannot
                                  20   attack his conviction in a civil rights action; the conviction must have been successfully
                                  21   attacked before the civil rights action is filed. The Heck rule bars an action only if there is
                                  22   an existing conviction. Heck does not encompass the principle that “an action which
                                  23   would impugn an anticipated future conviction cannot be brought until that conviction
                                  24   occurs and is set aside.” Wallace, 549 U.S. at 393 (emphasis in original). Nonetheless, the
                                  25   claim should not go forward if the plaintiff’s criminal proceedings are still pending; rather,
                                  26   the court can “stay the civil action until the criminal case or the likelihood of a criminal
                                  27   case is ended.” See id. at 394.
                                  28

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                                   1          The rationale of Heck applies to Bivens actions as well as those brought under §
                                   2   1983. See Martin, 88 F.3d at 775. If a judgment in favor of a Bivens plaintiff would
                                   3   necessarily imply the invalidity of his or her sentence, the plaintiff must show that the
                                   4   sentence has been previously invalidated. See id.
                                   5          Here, Plaintiff is challenging the validity of a search of his home, his detention, and
                                   6   later arrest based on evidence that was illegally obtained. A finding in his favor would
                                   7   necessitate a finding that his constitutional rights were violated, which would necessarily
                                   8   invalidate his criminal conviction if one occurs. Plaintiff’s claims should not go forward
                                   9   because his criminal proceedings are still pending; rather, “it is within the power of the
                                  10   district court, and in accord with common practice, to stay the civil action until the
                                  11   criminal case or the likelihood of a criminal case is ended.” See Wallace v. Kato, 549 U.S.
                                  12   at 393-94. Accordingly, the court will stay further proceedings in this matter until
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                                  13   Plaintiff’s criminal proceedings have concluded. Because Plaintiff’s state law claims are
                                  14   related to the § 1983 and Bivens claims, the Court will exercise supplemental jurisdiction
                                  15   over those claims for now. 28 U.S.C. § 1367(a).
                                  16   C.     Motion to Proceed Under Pseudonym
                                  17          Plaintiff filed a motion to proceed with a pseudonym on the grounds that the subject
                                  18   matter of the litigation involves accusations of a sex crime “that may bring attention to
                                  19   defendants’ earlier defamation against plaintiff such that [he] suffers further economic
                                  20   harm.” Dkt. No. 3 at 1. Plaintiff also alleges that the “public dissemination” has “incited
                                  21   vigilantes, threats of death and risk of harm to his family.” Id. He also expresses concern
                                  22   that the identify of an innocent third party “K.A.” may become easily known because “the
                                  23   fact they were dating for two years is well known.” Id.
                                  24          The “normal presumption” is that parties must use their real names to litigate. Doe
                                  25   v. Kamehameha Schools/Bernice Pauahi Bishop Estate, 596 F.3d 1036, 1042 (9th Cir.
                                  26   2010) (“Kamehameha Schools”); Fed. R. Civ. P. 10(a). This follows from the public’s
                                  27   interest in having an open judicial system and, when a plaintiff wants to conceal his
                                  28   identity from a defendant, from confrontation concerns. Kamehameha Schools, 596 F.3d

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                                   1   at 1042. Federal courts have allowed parties to plead anonymously when “special
                                   2   circumstances justify secrecy.” Does I thru XXIII v. Advanced Textile Corp., 214 F.3d
                                   3   1058, 1067 (9th Cir. 2000). Pseudonyms may be used when a party requires protection
                                   4   from “harassment, injury, ridicule, or personal embarrassment.” Id. at 1067-68 (quoting
                                   5   United States v. Doe, 655 F.2d 920, 922 n.1 (9th Cir. 1981) (using pseudonym because the
                                   6   prison inmate “faced the serious risk of bodily harm” as a government informant if the
                                   7   facts relating to his criminal case became known)). The party’s interest in proceeding
                                   8   anonymously must be weighed against any prejudice to the opposing party and the public’s
                                   9   interest in having open courts. Id. at 1068.
                                  10          The Ninth Circuit has outlined a five-factor test to balance these competing interests
                                  11   when there is a perceived risk of retaliation: “(1) the severity of the threatened harm, (2)
                                  12   the reasonableness of the anonymous party’s fears, . . . (3) the anonymous party’s
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                                  13   vulnerability to such retaliation, (4) the prejudice to the opposing party, and (5) the public
                                  14   interest.” Kamehameha Schools, 596 F.3d at 1042 (internal quotation marks omitted)
                                  15   (relying on the test developed in Advanced Textile Corp.). Often, the first two factors are
                                  16   intricately related and should be addressed together. See Kamehameha Schools, 596 F.3d
                                  17   at 1043.
                                  18          Under the first and second factors, Plaintiff has not established that there is a real
                                  19   threat of serious harm due to this action and that his fears are reasonable. He makes a
                                  20   vague reference to economic harm and threats by vigilantes. However, there is already a
                                  21   pending federal criminal action against him, which is already in the public eye as described
                                  22   above. See supra at 2-3. The evaluation of the “reasonableness of the anonymous party’s
                                  23   fears,” Kamehameha Schools, 954 F.3d at 1042, is done in relation to the ultimate question
                                  24   of whether it supports allowing the plaintiff to proceed as a John Doe plaintiff. In other
                                  25   words, if a threatened harm will occur with or without the John Doe designation, the fear
                                  26   of the threatened harm does not weigh in plaintiff’s favor on the second factor. Here,
                                  27   Plaintiff’s fears that he will be subject to harm unless he proceeds anonymously in this
                                  28   action are not reasonable because the facts of his pending federal prosecution are already a

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                                   1   matter of public record and well known, as indicated by the numerous news articles
                                   2   regarding his case. For the same reasons, Plaintiff’s fears regarding the identify of “K.A.”
                                   3   becoming known through this action are also unreasonable.
                                   4          The third factor to consider is Plaintiff’s vulnerability to the feared retaliation.
                                   5   Plaintiff’s reference to “economic harm” is insufficient to indicate what type of retaliation
                                   6   he fears in this regard. He also asserts that he fears threats to himself and his family.
                                   7   Threats to his family is not relevant to this third factor. With regards to Plaintiff, he is a
                                   8   pretrial detainee at a federal facility in Ohio, and therefore not vulnerable to harm by the
                                   9   public. If the fear of harm is from other inmates, prison officials have ways to protect
                                  10   inmates who are at special risk of harm from other inmates, e.g., by transferring to a
                                  11   different facility, special needs yards, or protective custody. Accordingly, this third factor
                                  12   does not weigh in favor of Plaintiff.
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                                  13          The fourth factor, prejudice to defendants, cannot be fully analyzed today in light of
                                  14   the fact that defendants have not been served or appeared in this action. The test under
                                  15   Kamehameha Schools describes the five-factor test as applying when the defendant objects
                                  16   to a plaintiff’s request to proceed anonymously. However, seeking a response from
                                  17   defendant is not practical because defendants have not been served with process or
                                  18   appeared in this action, and may not even be aware of this miscellaneous action.
                                  19          Fifth, the public interest weighs in favor of allowing public access to this action
                                  20   which involves allegations against law enforcement for violating a citizen’s constitutional
                                  21   rights during the course of an investigation. If Plaintiff’s allegations are true, then the
                                  22   public has a right to know when law enforcement has failed in their duties and
                                  23   responsibilities to the public in the just investigation and prosecution of crimes and have
                                  24   crossed the light to violating the rights of the public whom they are supposed to protect.
                                  25   Furthermore, the public also has a right to know about the court’s adjudication of cases of
                                  26   persons’ who have been unjustly charged and prosecuted.
                                  27          Having considered the several factors from Kamehameha Schools, the Court
                                  28   concludes Plaintiff’s motion to proceed anonymously must be DENIED. Plaintiff’s

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                                   1   interest in proceeding anonymously is outweighed by the public’s interest in having open
                                   2   courts.
                                   3                                            CONCLUSION
                                   4             For the reasons set forth above, this action is STAYED. Within thirty (30) days of
                                   5   the date on which he is acquitted, convicted, or charges are dismissed, Plaintiff must file a
                                   6   motion to lift the stay. If Plaintiff is convicted and if the claims would impugn that
                                   7   conviction, the action will be dismissed; otherwise, his claims may then proceed.
                                   8             In light of the stay, Plaintiff should not file any more documents in this action until
                                   9   the federal criminal proceedings have concluded.
                                  10             Plaintiff’s motion to proceed under a pseudonym is DENIED. Dkt. No. 3.
                                  11             The Clerk shall ADMINISTRATIVELY CLOSE the case.
                                  12             This order terminates Docket No. 3.
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                                  13             IT IS SO ORDERED.
                                  14   Dated:           October 4, 2022
                                                                                             EDWARD J. DAVILA
                                  15
                                                                                             United States District Judge
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